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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                 Eastern Division

Bernadette Clyburn
                               Plaintiff,
v.                                                 Case No.: 1:21−cv−05251
                                                   Honorable Matthew F. Kennelly
Ford Motor Company
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, March 1, 2022:


       MINUTE entry before the Honorable Matthew F. Kennelly: Telephonic status
hearing held on 3/1/2022. Plaintiff's counsel did not appear for the hearing. Defendant's
counsel provided an update on discovery. A telephonic status hearing is set for 5/4/2022 at
9:10 a.m. The following call−in number will be used: 888−684−8852; access code
746−1053. By no later than 4/27/2022, the parties are directed to file a joint status report
providing details progress discovery. Mailed notice. (mma, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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